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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

IN RE:                                                      §
                                                            §              CASE NO. 15-41255-BTR
WINGSPAN PORTFOLIO                                          §
ADVISORS, LLC,                                              §                        (Chapter 7)
                                                            §
                    DEBTOR.                                 §
                                                            §
                                                            §
MICHELLE H. CHOW,                                           §
CHAPTER 7 TRUSTEE,                                          §
                                                            §
                    Plaintiff,                              §
v.                                                          §     ADVERSARY CASE NO. ______________
                                                            §
B.H. MELBOURNE DELAWARE, LLC                                §
                                                            §
                    Defendant.                              §


                             COMPLAINT TO AVOID AND RECOVER
                          PREFERENTIAL AND FRAUDULENT TRANSFERS


         COMES NOW Michelle H. Chow, the Chapter 7 Trustee for the Bankruptcy Estate of

Wingspan Portfolio Advisors, LLC, and files this, her Complaint to Avoid and Recover Preferential

and Fraudulent Transfers against B.H. Melbourne Delaware, LLC and alleges as follows:

                                            I.        JURISDICTION

         1.      This is a core proceeding pursuant to 28 U.S.C. §§157(b)(2)(A) and (E).

         2.      Venue is proper in this District pursuant to 28 U.S.C. §1409(a).

         3.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§157 and 1334.

Relief is sought pursuant to 11 U.S.C. §§ 544, 548, 549, and 550, and other applicable law.




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                                                    II.       PARTIES

          4.       Plaintiff Michelle H. Chow is the duly appointed Chapter 7 Trustee (“Trustee” or

“Plaintiff”) for the Bankruptcy Estate of Wingspan Portfolio Advisors, LLC. Plaintiff may be

served in this adversary proceeding through the undersigned attorney.

          5.       Defendant B.H. Melbourne Delaware, LLC (“Landlord”) is a foreign limited

liability business incorporated in the State of Florida. Defendant Landlord may be served with

process by mailing this Complaint and Summons by certified mail, return receipt requested, to its

registered agent, NRAI Services, Inc., 515 E. Park Avenue, Tallahassee, Florida 32301.

                                             III.         BACKGROUND

          6.       On July 13, 2015 (“Petition Date”), Wingspan Portfolio Advisors, LLC (“Debtor”)

filed a Voluntary Petition under Chapter 7 of the UNITED STATES BANKRUPTCY CODE.

          7.       Prior to the Petition Date, on February 6, 2013, the Debtor entered into a Master

Agreement with Chase under which the Debtor would provide mortgage services to Chase at its

Melbourne, Florida location. On the same date, the Debtor entered into an Asset Purchase

Agreement the (“APA”) with Chase to purchase from Chase the “Transferred Assets” (as defined

in the APA) used in the mortgage servicing business at a site in Melbourne, Florida. The Debtor

purchased the Transferred Assets for the sum of $1,122,000.00.

          8.       In conjunction with the Master Agreement and the APA, Chase required the Debtor

to take over its lease at the Melbourne location. On February 6, 2013, Wingspan signed an Office

Lease Agreement (“Melbourne Lease”) with Landlord. 1 The Melbourne Lease committed the

Debtor to transfer the Transferred Assets to the Landlord for no consideration at the end of the

lease. Paragraph 24 of the Melbourne Lease required the Debtor to leave at the Premises furniture,



1
    A copy of the Melbourne Lease is attached as Exhibit 1.


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fixtures and other property which included the existing PBX phone system with existing phones

and “any and all furniture (including all chairs) cubicle partitions, desks and chairs located within

the Premises as of the date of this Lease.” (collectively, the “Existing FF&E”). The lease further

provided that the Existing FF&E surrendered by the Debtor would become property of the

Landlord without any further action by the Debtor.

       9.      On February 22, 2013, the Debtor sent a wire in the amount of $1,122,000.00 to

Banc One Building Corp. The Debtor’s ledger contains a notation that the payment is for

“Furniture & Fixtures—Melbourne, FL, site assumption from JP Morgan Chase.”

       10.     In the spring of 2015, Chase terminated its agreement with the Debtor and the

Debtor began to vacate the Melbourne location by laying off employees. By the time that the

bankruptcy case was filed, the Debtor had closed the Melbourne location and had surrendered the

Existing FF&E (the “Furniture Transfer”) as required by the Lease. At the time of bankruptcy

filing, the Landlord claimed to own the Existing FF&E and that the estate had no interest in such

furniture and fixtures. Landlord did not pay any consideration for the Furniture Transfer.

                                      IV.        CAUSES OF ACTION

                          COUNT ONE – FRAUDULENT TRANSFER
                                    (11 U.S.C. § 544)

       11.     Plaintiff realleges and incorporates herein by reference the allegations contained in

Paragraphs 1 through 10 of the Complaint as if fully set forth herein.

       12.     Pursuant to Texas Business and Commerce Code 24.001 et seq., made applicable

by 11 U.S.C. § 544(b)(1), a transfer made or obligation incurred by a debtor is fraudulent as to a

creditor if the transfer was made with actual intent to hinder, delay or defraud any creditor of the

Debtor or without any reasonably equivalent value.




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       13.     The Debtor incurred the Melbourne Lease obligation, which obligated it to leave

the Existing FF&E at the Debtor’s former location in Florida. The Debtor had paid $1,122,000.00

for the furniture and fixtures. However, due to the terms of the Melbourne Lease, it had no ability

to sell or otherwise monetize its purchase in the furniture Landlord did not pay any consideration

for the Furniture Transfer.        Accordingly, the Debtor did not receive any value, much less

reasonable equivalent value, in exchange incurring the Melbourne Lease obligation to leave the

furniture and fixtures in the lease space.

       14.     At the time the Melbourne Lease was executed, the Debtor was (i) insolvent or

became insolvent as a result of the incurrence of the obligation to leave its asserts behind, (ii) was

engaged in business or a transaction, or was about to engage in business or a transaction, for which

the remaining assets of the Debtor were unreasonably small in relation to the business or transaction,

or (iii) intended to incur, or believed that the Debtor would incur, debts that would be beyond the

Debtor’s ability to pay as such debts matured.

       15.     Accordingly, the Lease and the Furniture Transfer are avoidable as a fraudulent

obligation pursuant to Texas Business and Commerce Code Texas Business and Commerce Code

24.001, 24.005 and 11 U.S.C. § 544 of the Bankruptcy Code.

                          COUNT TWO– FRAUDULENT TRANSFER
                                   (11 U.S.C. § 548)

       16.     Plaintiff realleges and incorporates herein by reference the allegations contained in

Paragraphs 1 through 15 of the Complaint as if fully set forth herein.

       17.     In the alternative to Count One above, upon information and belief, the Furniture

Transfer was an interest of the Debtor in property, and was made with actual intent to hinder, delay

or defraud any entity to which the Debtor was or became on or after the date that such Furniture

Transfer was made or such obligation was incurred or indebted.



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        18.     At the time the Furniture Transfer was made, the Debtor did not receive any value,

much less reasonable equivalent value, in exchange for the Furniture Transfer.

        19.     Upon information and belief, at the time the Furniture Transfer was made, the Debtor

was (i) insolvent or became insolvent as a result of the Furniture Transfer, (ii) was engaged in business

or a transaction, or was about to engage in business or a transaction, for which any property remaining

with the Debtor was an unreasonably small capital, or (iii) intended to incur, or believed that the

Debtor would incur, debts that would be beyond the Debtor’s ability to pay as such debts matured.

        20.     Accordingly, the Furniture Transfer is avoidable pursuant to 11 U.S.C. § 548 of the

Bankruptcy Code. Plaintiff hereby sues to recover the Furniture Transfer, or the value thereof, from

Landlord pursuant to 11 U.S.C. §§ 548 and 550.

                         COUNT THREE – POST PETITION TRANSFER
                                    (11 U.S.C. § 549)

        21.     Plaintiff realleges and incorporates herein by reference the allegations contained in

Paragraphs 1 through 20 of the Complaint as if fully set forth herein.

        22.     To the extent that any of the Furniture Transfer was made post petition, the Plaintiff

seeks to avoid this Furniture Transfer pursuant to 11 U.S.C. § 549 of the Bankruptcy Code.

        23.     Accordingly, the Furniture Transfer is avoidable pursuant to 11 U.S.C. § 549 of the

Bankruptcy Code. Plaintiff hereby sues to recover the Furniture Transfer, or the value thereof, from

Landlord pursuant to 11 U.S.C. §§ 549 and 550.




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                                       V.        ATTORNEYS’ FEES

       24.     Plaintiff realleges and incorporates herein by reference the allegations contained in

Paragraphs 1 through 23 of the Complaint as if fully set forth herein.

       25.     The Trustee seeks recovery of her attorneys’ fees and costs incurred in prosecution of

this matter pursuant to §24.013 of the TEXAS BUSINESS & COMMERCE CODE, and under any other

applicable provision at law or at equity, for which the Trustee now sues.

                        VI.      PRE- AND POST-JUDGMENT INTEREST

       26.     Plaintiff realleges and incorporates herein by reference the allegations contained in

Paragraphs 1 through 25 of the Complaint as if fully set forth herein.

       27.     The Trustee seeks payment of pre-judgment interest on the value of all Transfers from

the date of filing through the date of judgment at the rate of six percent (6%) per annum. Plaintiff

seeks payment of post-judgment interest on all money damages awarded hereunder from the date of

judgment until paid at the prevailing federal judgment rate.

                                                 VII.    PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff Michelle H. Chow, Chapter 7

Trustee for the Bankruptcy Estate of Wingspan Portfolio Advisors, LLC, would respectfully pray that

the Court:

       1.      enter judgment in favor of Plaintiff and against Defendant B.H. Melbourne Delaware,

LLC in the amount of $1,122,000.00 or the value of the Existing FF&E;

       2.      grant Plaintiff pre-judgment interest on the value of all transfers from the date of filing

through the date of judgment at the rate of six percent (6%) per annum;

       3.      grant Plaintiff post-judgment interest on all money damages awarded hereunder from

the date of judgment until paid at the prevailing federal judgment rate;




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       4.      grant Plaintiff her attorney’s fees and costs; and

       5.      grant Plaintiff such other and further relief as this Court deems just and proper.

Dated: July 13, 2017

                                                      Respectfully submitted,

                                                      SINGER & LEVICK, P.C.


                                                      By:         /s/ Michelle E. Shriro
                                                                Michelle E. Shriro
                                                                State Bar No. 18310900

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                                                      ATTORNEYS FOR MICHELLE H. CHOW, TRUSTEE




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